Case 2:O4-CV-024O4-SHI\/|-STA Document 51 Filed 07/18/05 Page 1 of 2 Page|D 32

 

IN THE UNITED sTATES DISTRICT coURT mm Bv “'%' D'c`
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN 05 JUL l8 AH!|=|¢|
SCOTT SIDES, CLEI-`KU.S.-_\S:R!';J! 311-ll
WFU GF :z\i. -*»:`ISAFHSS
Plaintiff,
vs. No. 04-2404-MaA

VELS ICOL CHEMI CAL CORPOR.ATION ,

Defendant.

 

ORDER GRANTING MOTION FOR EXTENSION TIME

 

Before the court is plaintiff’s July 6, 2005, unopposed
motion requesting an extension of the deadline for filing
potentially dispositive motions. For good cause Shown, the
motion is granted. Plaintiff’s deadline for filing his motion
for summary judgment is extended to July 20, 2005.

lt is 50 oRDERED this /§Kaay of July, 2005.

JM/“M\

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

 

Ti'.'ls document entered on the docket sheer irl' com n§i"ié¥¢
with Rule w and/or 79(3) FRCP on _7“_£.9'_‘_&§ 5/

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This notice confirms a copy of the document docketed as number 51 in
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Honorable Samuel Mays
US DISTRICT COURT

